Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242-1
                                    232-1 Filed
                                          Filed 07/23/18
                                                07/19/18 Page
                                                         Page 1
                                                              1 of
                                                                of 3
                                                                   3 PageID
                                                                     PageID #:
                                                                            #: 2514
                                                                               2463



                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                             TEXARKANA DIVISION

   UNITED STATES OF AMERICA             )
   ex rel. HEALTH CHOICE ADVOCATES, LLC )
   et al.,                              )
                                        )
                Plaintiffs,             )
                                        )
   v.                                   )            Civil Action No. 5:17-cv-00121
                                        )
   GILEAD SCIENCES, INC.,               )            Judge Robert W. Schroeder III
   et al.,                              )
                                        )
                Defendants.             )


    ORDER GRANTING DEFENDANTS COVANCE INC. AND HEALTHSTAR CLINICAL
       EDUCATION SOLUTIONS, LLC’S EMERGENCY UNOPPOSED MOTION FOR
      PARTIAL UNSEALING OF DOCUMENTS RELATED TO DEFENDANT GILEAD
       SCIENCES, INC.’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
                                JURISDICTION
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242-1
                                    232-1 Filed
                                          Filed 07/23/18
                                                07/19/18 Page
                                                         Page 2
                                                              2 of
                                                                of 3
                                                                   3 PageID
                                                                     PageID #:
                                                                            #: 2515
                                                                               2464



          Before the Court is Defendant Covance Inc.’s (“Covance”) and Defendant HealthStar

   Clinical Education Solutions, LLC’s (“HSCES”) (collectively, “Defendants”) Emergency

   Unopposed Motion for Partial Unsealing of the Documents Related to Defendant Gilead Science

   Inc.’s (“Gilead”) Motion to Dismiss for Lack of Subject Matter Jurisdiction. Having considered

   the motion, and finding good cause, the Court finds that it should be and is hereby GRANTED.

          It is therefore ORDERED that:

          Defendants shall be granted access to all of the following documents, including any

   attachments thereto, that are under seal:

      •   Dkt. 41 – Gilead’s Unopposed Sealed Motion for Leave to File Under Seal its Unopposed
          Motion for Extension of Time to Respond to Relator's Complaint
      •   Dkt. 42 – Gilead’s Unopposed Sealed Motion for Extension of Time to Respond to
          Relator's Complaint
      •   Dkt. 43 – Gilead’s Redacted Sealed Unopposed Motion for Leave to File Under Seal its
          Unopposed Motion for Extension of Time to Respond to Relator's Complaint
      •   Dkts. 72, 77 - Gilead's Unopposed Sealed Motion for Leave to File Motion to Dismiss for
          Lack of Subject Matter Jurisdiction Under Seal
      •   Dkts. 73, 80 – Gilead's Motion to Dismiss Relators' Amended Complaint for Lack of
          Subject Matter Jurisdiction and Memorandum of Law in Support
      •   Dkts. 74, 78 – Gilead's Unopposed Motion to File Opposed Motion to Stay Discovery
          Under Seal
      •   Dkts. 75, 79 – Gilead's Opposed Sealed Motion to Stay Discovery Pending Resolution of
          Gilead's Motions to Dismiss with Brief in Support
      •   Dkts. 121, 126 – Gilead’s Unopposed Sealed Motion to File Reply in Support of
          Defendant Gilead's Motion to Stay Discovery Under Seal
      •   Dkts. 122, 123 – Gilead’s Sealed Reply to Response to Motion re Opposed Sealed
          Motion to Stay Discovery Pending Resolution of Gilead's Motions to Dismiss with Brief
          in Support
      •   Dkt. 145 – Relators’ Unopposed Motion for Leave to File Under Seal
      •   Dkts. 147, 149 – Relators’ Sealed Response to Motion to Dismiss Relators' Amended
          Complaint for Lack of Subject Matter Jurisdiction
      •   Dkts. 156, 169 – Gilead’s Unopposed Sealed Motion to File Reply in Support of its
          Motion to Dismiss for Lack of Subject Matter Jurisdiction Under Seal
      •   Dkts. 157, 170 – Gilead’s Sealed Reply to Response to Motion re Sealed Motion to
          Dismiss Relators' Amended Complaint for Lack of Subject Matter Jurisdiction
      •   Dkts. 158, 171 – Gilead’s Unopposed Sealed Motion to File Motion to Strike Declaration
          of Christopher L. Nelson Under Seal
      •   Dkts. 159, 172 – Gilead’s Opposed Sealed Motion to Strike Declaration of Christopher
          L. Nelson
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Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242-1
                                    232-1 Filed
                                          Filed 07/23/18
                                                07/19/18 Page
                                                         Page 3
                                                              3 of
                                                                of 3
                                                                   3 PageID
                                                                     PageID #:
                                                                            #: 2516
                                                                               2465



      •   Dkt. 176 – Relators’ Sealed Sur-Reply to Gilead's Motion to Dismiss Relators' Amended
          Complaint for Lack of Subject Matter Jurisdiction
      •   Dkt. 181 – Relators’ Sealed Response to Motion [Dkt. 159] Opposed Sealed Motion to
          Strike Declaration of Christopher L. Nelson
      •   Dkt. 194 – Sealed Transcript of Proceedings on 5/14/18 before Judge Craven
      •   Dkts. 197, 201 – Gilead's Unopposed Sealed Motion for Leave to File Under Seal its
          Opposed Motion for Leave to File Supplemental Authority in Support of Motion to
          Dismiss Relators' Amended Complaint for Lack of Subject Matter Jurisdiction
      •   Dkts. 198, 202 – Gilead’s Opposed Sealed Motion for Leave to File Supplemental
          Authority in Support of Motion to Dismiss Relators' Amended Complaint for Lack of
          Subject Matter Jurisdiction
      •   Dkt. 204 – Relators’ Sealed Response to Motion re [Dkt. 198] Opposed Sealed Motion
          for Leave to File Supplemental Authority In Support of Its Motion to Dismiss Relators’
          Amended Complaint for Lack of Subject Matter Jurisdiction
      •   Dkts. 214, 216 – Gilead’s Sealed Reply to Motion re Opposed Sealed Motion for Leave
          to File Supplemental Authority in Support of Motion to Dismiss Relators' Amended
          Complaint for Lack of Subject Matter Jurisdiction


          IT IS SO ORDERED.




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